                                                   IT IS ORDERED

                                                   Date Entered on Docket: January 2, 2020




                                                   ________________________________
                                                   The Honorable Robert H Jacobvitz
                                                   United States Bankruptcy Judge
______________________________________________________________________




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